E. BRYAN WILSON
Acting United States Attorney

YUNAH CHUNG
Assistant U.S. Attorney
Federal Building & U.S. Courthouse
222 West Seventh Avenue, #9, Room 253
Anchorage, Alaska 99513-7567
Phone: (907) 271-5071
Fax: (907) 271-1500
Email: yunah.chung@usdoj.gov

Attorneys for Plaintiff


                     IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF ALASKA

                                        )
  UNITED STATES OF AMERICA,                 No. 3:21-cr-00074-JMK-DMS
                                        )
                                        )
                          Plaintiff,        COUNT 1:
                                        )
                                            DISTRIBUTION OF HEROIN
                                        )
          vs.                                 Vio. of 21 U.S.C. § 841(a)(1),
                                        )
                                            (b)(1)(C)
                                        )
  MICHAEL EDWARD ROZA,
                                        )
                                            COUNT 2:
                                        )
                          Defendant.        DISTRIBUTION OF
                                        )
                                            METHAMPHETAMINE
                                        )
                                              Vio. of 21 U.S.C. § 841(a)(1),
                                        )
                                            (b)(1)(B)
                                        )
                                        )
                                            COUNT 3:
                                        )
                                            POSSESSION OF A MACHINEGUN
                                        )
                                             Vio. of 18 U.S.C. §§ 922(o) and
                                        )
                                            924(a)(2)
                                        )
                                        )
                                            COUNT 4:
                                        )
                                            POSSESSION OF UNREGISTERED
                                        )
                                            NFA WEAPONS
                                        )
                                             Vio. of 26 U.S.C. §§ 5861(d) and 5871
                                              ) CRIMINAL FORFEITURE
                                              ) ALLEGATION:
                                              )   18 U.S.C. § 924(d) and 28 U.S.C.
                                              ) § 2461(c)
                                              )
                                              )

                                   INDICTMENT

       The Grand Jury charges that:

                                        COUNT 1

       On or about November 13, 2019, within the District of Alaska, in or near Kenai,

the defendant, MICHAEL EDWARD ROZA, did knowingly and intentionally distribute

a controlled substance, to wit: a mixture and substance containing a detectable amount of

heroin.

       All of which is in violation of 21 U.S.C. § 841(a)(1), (b)(1)(C).

                                        COUNT 2

       On or about March 2, 2020, within the District of Alaska, in or near Kenai, the

defendant, MICHAEL EDWARD ROZA, did knowingly and intentionally distribute a

controlled substance, to wit: 5 grams or more of pure methamphetamine.

       All of which is in violation of 21 U.S.C. § 841(a)(1), (b)(1)(B).

                                        COUNT 3

       On or about April 29, 2021, within the District of Alaska, in or near Kenai, the

defendant, MICHAEL EDWARD ROZA, did knowingly possess a machinegun, to wit:

an AR-15 style, .223 caliber rifle that functions as a machinegun.


                                        Page 2 of 4
       All of which is in violation of 18 U.S.C. §§ 922(o) and 924(a)(2).

                                        COUNT 4

       On or about April 29, 2021, within the District of Alaska, in or near Kenai, the

defendant, MICHAEL EDWARD ROZA, did knowingly possess weapons that were not

registered to him in the National Firearms Registration and Transfer Record, to wit: three

silencers.

       All of which is in violation of 26 U.S.C. §§ 5861(d) and 5871.

                       CRIMINAL FORFEITURE ALLEGATION

       Upon conviction for the offenses in violation of 18 U.S.C. § 922(o) and 26 U.S.C.

§ 5861(d), set forth in Counts 3 and 4 of this Indictment, the defendant, MICHAEL

EDWARD ROZA, shall forfeit to the United States the AR-15 style, .223 caliber rifle

that functions as a machinegun specified in Count 3, and the three silencers specified in

Count 4.

//

//

//

//

//

//

//

//
                                        Page 3 of 4
      All pursuant to 21 U.S.C. § 924(d) and 28 U.S.C. § 2461(c).

      A TRUE BILL.


                                       s/ Grand Jury Foreperson
                                       GRAND JURY FOREPERSON



s/ Yunah Chung
YUNAH CHUNG
Assistant U.S. Attorney
United States of America



s/ E. Bryan Wilson
E. BRYAN WILSON
Acting United States Attorney
United States of America


DATE:        7/21/21




                                      Page 4 of 4
